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                          THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION



1ST TRANSPORT, LLC, d/b/a,
TARA TRANS                                                  CASE NO.        8:19-cv-02595
A Florida Limited Liability Company,

       Plaintiff,

vs.

ACCESS 2 CARE, LLC,
A Missouri Limited Liability Company,

        Defendant.

___________________________________/


            SECOND AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff, 1ST TRANSPORT, LLC (“Plaintiff”), a Florida Limited Liability Company, by

and through its undersigned counsel, hereby files this Second Amended Complaint against

ACCESS 2 CARE, LLC, a Missouri Limited Liability Company, and states as follows:


                                 JURISDICTION AND VENUE

        1. Venue is proper in this Judicial Circuit as all the events arising out of this cause arose

in this Judicial District.

        2. Plaintiff brings its complaint, and each claim, under federal diversity jurisdiction, 28

U.S.C. §1332, as the parties are completely diverse in citizenship and the amount in controversy

exceeds $75,000.00.

        3. In 2017, A2C paid Plaintiff approximately $2,066,000.00 for providing transportation

services.



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       4. In 2018, A2C paid Plaintiff approximately $750,000.00 for providing transportation

services.

       5. While A2C has blocked Plaintiff’s access to its payment portals, Plaintiff’s business

records solely for the months of January – March (and part of April) 2018, reflect non-payment in

the amount of $55,831.40. See Exhibits A-1 and A-2 (“Unpaid Trip List”).

       6. Plaintiff alleges that A2C did not pay approximately $30,000 for transporting nurse

attendants in 2016.

       7. Plaintiff was further damaged monetarily upon purchasing 2 sets of shuttle vans for an

approximate total of $160,000 where the vans remained underutilized.

                                            PARTIES

       8. Plaintiff is a Florida Limited Liability Company, with its members citizens of Florida,

and its principal place of business in Pasco County, Florida.

       9. Defendant A2C is a Missouri Limited Liability Company, with its sole member also a

Missouri Limited Liability Company and having a Delaware corporation as its sole member, and

is therefore, within the jurisdiction of this Court. See Exhibit B (Defendant A2C’s Response to

Plaintiff’s Limited Interrogatory).

                                  FACTUAL ALLEGATIONS

       10. On January 16, 2015, A2C hired Plaintiff to provide “medical transportation, non-

medical transportation ambulance, Para transit and wheelchair services to A2C customers in

various locations”. See Exhibit C (“Agreement”).

       11. The Agreement’s rate schedule specified a one-way trip charge for ambulatory

customers at a rate of $12.50 that included transportation for 5 miles from a customer’s home to a

treatment facility or vice versa. A trip exceeding 5 miles would be compensated at $1.60 per mile.


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       12. Approximately six months later, A2C and Plaintiff modified the Agreement, in writing

and verbally, to provide services for A2C’s wheelchair customers.

       13. A2C compensated Plaintiff for transporting wheelchair customers at a one-way rate of

$25.00 and $2.00 per mile after the initial 5 miles.

       14. On or about September 2016, A2C and Plaintiff again modified the Agreement to

enable Plaintiff to provide transportation services to and from PPEC (Prescribed Pediatric

Extended Care) facilities that cater exclusively to children.

       15. A2C’s manager “Jason” informed Plaintiff that transportation services were needed

for PPEC facilities at The Bishop Children’s Center in St. Petersburg, Florida and the “Drew

Street” facility in Clearwater, Florida to replace A2C’s existing transportation provider.

       16. In reliance of A2C’s representations, Plaintiff purchased 6 shuttle vans for

approximately $70,000 to provide transportation services for children at PPEC facilities.

       17. As part of providing transportation services, the newly acquired shuttle vans were used

exclusively for A2C’s customers receiving treatment at PPEC facilities to ensure immediate

availability for emergencies.

       18. While A2C had used other transportation providers to transport children to and from

PPEC facilities, A2C did not inform Plaintiff that children had to be accompanied by nurse

attendants.

       19. Transporting a nurse attendant and child round-trip from a PPEC facility resulted in a

total of four-legs – “A-B-C-D”.

       20. A2C generated trip numbers associated with each leg of a trip, such as ###-A, ###-B,

to enable Plaintiff to submit a corresponding bill for payment via A2C’s payment portal.




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        21. However, A2C did not create trip numbers to allow Plaintiff to bill for transporting

nurse attendants.

        22. While A2C paid for transporting PPEC customers, A2C did not pay Plaintiff

approximately $30,000 for two months for the additional legs of a round trip associated with

transporting nurse attendants.

        23. On or about January 2017, after Plaintiff’s repeated demands, A2C began to generate

trip numbers for transporting nurse attendants.

        24. Contemporaneously, A2C rates were upgraded to reflect for the four-legs of a round

trip associated with a PPEC customer – $50 for an ambulatory customer and $100 for a wheelchair

customer.

        25. Soon after, in retaliation, A2C informed Plaintiff to stop providing services for the

Drew Street facility in Clearwater, Florida.

        26. On or about May 2017, A2C’s Transportation Manager Ryan Delos Reyes threatened

to eliminate Plaintiff’s service areas if Plaintiff did not agree to lower the trip rate by 10 percent.

        27. While Plaintiff acquiesced to the lower rate, A2C subsequently took away Pinellas

County’s service area from Plaintiff.

        28. On or about November 2017, A2C approached Plaintiff to provide transportation

services for Fort Myers and Naples, Florida and the Drew Street facility in Clearwater, Florida at

a new, higher rate.

        29. In reliance upon A2C’s representations that Plaintiff would provide services at the

three aforementioned locations, Plaintiff purchased 6 shuttle vans with extra capacity for multiple

wheelchairs for approximately $90,000.

        30. Arbitrarily, A2C’s manager “Jason” did not give Fort Myers’ service area to Plaintiff.




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         31. While 3 of the shuttle vans were specially equipped (and required higher insurance

coverage) and purchased to service Fort Myers, Florida, Plaintiff was relegated to using the

vehicles as spare vans.

         32. Plaintiff consistently invoiced A2C for transportation services in a timely manner.

         33. Nevertheless, A2C began to scrutinize Plaintiff’s billing errors and characterized an

error as fraud.

         34. A2C’s Transportation Manager Ryan Delos Reyes stated, “I will destroy the

company”.

         35. A2C would audit completed trips by Plaintiff contrary to its established procedures to

avoid payment for services.

         36. While Plaintiff continued to submit timely invoices for approximately 2000-3000

monthly trips, A2C began to unreasonably audit 90% of all completed trips.

         37. To comply with unreasonable audits Plaintiff had to hire additional employees and

then train and certify them.

         38. A2C audited a large volume of completed trips to prevent Plaintiff from providing

audit documentation in a timely manner.

         39. A2C would disregard audit documentation received from Plaintiff and allow payment

deadlines to lapse.

         40. A2C would not make payments for trips where it had caused payment deadlines to

lapse.

         41. Even when Plaintiff complied with the A2C’s audit and appeal procedure, A2C would

arbitrarily deny payment for completed trips due to trivialities.

         42. A2C would audit trips arbitrarily and without cause.




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       43. A2C would deny payment for trips arbitrarily and without cause.

       44. A2C would deny payment for trips after an appeal arbitrarily and without cause.

       45. A2C would also reduce the payment amount owed for services rendered.

       46. A2C deleted completed transportation trips from its electronic payment portal to avoid

payment to Plaintiff.

       47. When notified of deleted trips, A2C would not add the deleted trips in a timely manner

and designate the trips as being submitted “past deadline”.

       48. A2C would unnecessarily audit cleared trips to cause trips to become “past deadline”.

       49. A2C would not generate trip numbers to allow Plaintiff to submit a corresponding

invoice for payment.

       50. On or about April 2018, A2C arbitrarily eliminated most of Plaintiff’s service areas.

       51. On or about October 2019, after Plaintiff’s repeated demand for payment of monies

owed, A2C blocked Plaintiff from accessing the payment portal.

       52. Plaintiff had exhausted A2C’s Claims Appeals Process, or in the alternative,

exhaustion of Claims Appeals Process was not required because:

            a) It would prove futile for Plaintiff to do so, or in the alternative,

           b) The Plaintiff has been wrongfully denied access to any applicable appeal procedures.




                                         COUNT I
                                    BREACH OF CONTRACT

       53. Plaintiff incorporates all allegations in Paragraphs 1 through 52 above.

       54. The Agreement requires A2C to pay for transportation services within twenty-one

days after receipt of an invoice from Plaintiff.




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       55. A2C’s failure to pay invoices within twenty-one days was a breach of the Agreement.

Plaintiff has been damaged by the breach set forth herein, by not being paid for services provided

to A2C.

       56. A2C did not adhere to its procedures for payment of invoices submitted by Plaintiff.

       57. A2C also prevented Plaintiff from billing for transportation services by not generating

trip numbers for work performed.

       58. Plaintiff was further damaged when it purchased shuttle vans in reliance of A2C’s

representations that Plaintiff would provide transportation for specific locations.

       59. A2C’s breach was either intentional or, alternatively, negligent.

       WHEREFORE, Plaintiff requests judgment against the Defendant for damages, but in no

event less than $75,000, and prejudgment interest, together with costs of suit and reasonable

attorney fees, and such other and further relief as this Court may deem just and proper.


                             COUNT II
     BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

       60. Plaintiff incorporates all allegations in Paragraphs 1 through 52 above.

       61. Plaintiff and A2C entered into the “Agreement” for Plaintiff to provide transportation

services for A2C’s customers.

       62. Plaintiff timely billed A2C for transportations services provided to A2C’s customers.

       63. Plaintiff was also prevented from timely billing when A2C did not generate trip

numbers for transportation services.

       64. A2C threatened Plaintiff into reducing trip rates for transporting customers.

       65. Plaintiff complied with A2C’s audit procedures and deadlines.

       66. Plaintiff also utilized A2C’s appeals process.




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       67. Nevertheless, contrary to ¶¶ 5 (and Schedule A), 9, 15 of the Agreement, A2C

breached specific contractual provisions for its scheduling, invoicing, and Claims Appeals Process.

       68. Plaintiff purchased shuttle vans in reliance of A2C’s representations that Plaintiff

would be scheduled to service specific locations.

       69. Subsequently, A2C arbitrarily eliminated service locations where Plaintiff was

scheduled to provide services.

       70. A2C wrongfully denied payments due to Plaintiff in an unreasonable manner, while

inducing it to keep providing transportation to A2C’s customers.

       71. A duty of good faith and fair dealing is implicit in all enforceable contracts under

Florida law, and implied in the performance of every term of an express contract.

       72. By repeatedly and systematically engaging in practices that lead to wrongful denial of

invoices it received from Plaintiff, and other actions alleged herein, A2C continually demonstrated

bad faith in performing the express terms of this enforceable contract.

       73. Plaintiff was injured by A2C's bad faith and unfair dealing because it continually relied

on assurances made by A2C that A2C would perform its obligations under the contracts alleged

herein, and the other false promises and misrepresentations made to it by A2C.

       74. As a result, Plaintiff suffered damages.

       WHEREFORE, Plaintiff requests judgment against the Defendant for damages, but in no

event less than $75,000, and prejudgment interest, together with costs of suit and reasonable

attorney fees, and such other and further relief as this Court may deem just and proper.


                                     COUNT III
                           ACTION FOR UNJUST ENRICHMENT

       75. Plaintiff incorporates all allegations in Paragraphs 1 through 52 above.




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       76. This action for unjust enrichment against A2C is pleaded in the alternative to, or in

addition to the other counts of this Complaint.

       77. For purposes of this Count, Plaintiff alleged that the actions described herein were

outside of the provisions of the Agreement.

       78. By having Plaintiff provide services to its customers and then by not paying A2C a

correct or fair price or non-payment, A2C is obtaining benefit.

       79. A2C collects fees from its customers to provide them with transportations services.

       80. By providing transportation services to A2C’s customers, Plaintiff conferred a benefit

upon A2C.

       81. A2C is aware of this benefit, solicited it, and accepted it.

       82. However, A2C retained these benefits by denying, diminishing, and delaying payment

for these services while continuing to induce A2C to provide them.

       83. It would be inequitable to allow A2C to retain these benefits under the circumstances,

and it is unjustly enriched thereby.

       84. As set forth above, Plaintiff has no adequate remedy at law for A2C's actions that led

to its unjust enrichment.

       85. Plaintiff suffered damages as a result.

       WHEREFORE, Plaintiff requests judgment against the Defendant for damages, but in no

event less than $75,000, and prejudgment interest, together with costs of suit and reasonable

attorney fees, and such other and further relief as this Court may deem just and proper.


                               DEMAND FOR TRIAL BY JURY

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff 1ST

TRANSPORT, LLC demands a trial by jury in this action.



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 Dated: June 25, 2020

                                                  Respectfully submitted,

                                                  /s/ Derek P. Usman
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                                                  Attorney for Plaintiff


                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 25th day of June, 2020, I electronically filed the

 foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice of

 electronic filing upon:



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                                                   /s/ Derek P. Usman
                                                   Derek P. Usman, Attorney




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